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 8                                IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10   ERNEST DANIEL MEDINA,

11                   Plaintiff,                      No. CIV S-11-2240 DAD P

12           vs.

13   DIRECTOR OF MENTAL HEALTH,

14                   Defendant.                      ORDER

15                                           /

16                   Plaintiff is a state prisoner proceeding pro se. Plaintiff seeks relief pursuant to 42

17   U.S.C. § 1983 and has filed an application to proceed in forma pauperis under 28 U.S.C. § 1915.

18   This proceeding was referred to the undersigned magistrate judge in accordance with Local Rule

19   302 and 28 U.S.C. § 636(b)(1).

20                   Plaintiff has submitted an in forma pauperis application that makes the showing

21   required by 28 U.S.C. § 1915(a). Accordingly, plaintiff will be granted leave to proceed in forma

22   pauperis.

23                   Plaintiff is required to pay the statutory filing fee of $350.00 for this action. 28

24   U.S.C. §§ 1914(a), 1915(b)(1). By this order, plaintiff will be assessed an initial partial filing fee

25   in accordance with the provisions of 28 U.S.C. § 1915(b)(1). By separate order, the court will

26   direct the appropriate agency to collect the initial partial filing fee from plaintiff’s trust account

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 1   and forward it to the Clerk of the Court. Thereafter, plaintiff will be obligated for monthly

 2   payments of twenty percent of the preceding month’s income credited to plaintiff’s prison trust

 3   account. These payments will be forwarded by the appropriate agency to the Clerk of the Court

 4   each time the amount in plaintiff’s account exceeds $10.00, until the filing fee is paid in full. 28

 5   U.S.C. § 1915(b)(2).

 6                   Before the court had an opportunity to screen plaintiff’s original complaint he

 7   filed a motion to amend, seeking leave of court to file an amended complaint. Under the

 8   circumstances of this case, the court will grant plaintiff’s motion for leave to amend and direct

 9   him to file his amended complaint within thirty days. See Fed. R. Civ. P. 15 (“The court should

10   freely give leave [to amend] when justice so requires.”).

11                   Accordingly, IT IS HEREBY ORDERED that:

12                   1. Plaintiff's application for leave to proceed in forma pauperis (Doc. No. 6) is

13   granted.

14                   2. Plaintiff is obligated to pay the statutory filing fee of $350.00 for this action.

15   Plaintiff is assessed an initial partial filing fee in accordance with the provisions of 28 U.S.C.

16   § 1915(b)(1). All fees shall be collected and paid in accordance with this court’s order to the

17   Director of the California Department of Corrections and Rehabilitation filed concurrently

18   herewith.

19                   3. Plaintiff’s motion to amend (Doc. No. 5) is granted;

20                   4. Plaintiff shall file an amended complaint within thirty days of the date of

21   service of this order. Failure to comply with the court’s order or seek an extension of time to do

22   so will result in the dismissal of this action.

23   DATED: March 13, 2012.

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